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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §
                                          §      No. 3:17-cr-361-B (2)
GREGORY CASH CHAPPELL,                    §
                                          §
            Defendant.                    §

                   MEMORANDUM OPINION AND ORDER

      Defendant Gregory Cash Chappell is charged with violating 21 U.S.C. §§ 846,

841(b)(1)(C), and 843(b) in an indictment out of this district. The government moved

for pretrial detention pursuant to 18 U.S.C. § 3142, and, on August 1, 2017, a

hearing on the government’s motion for detention was held.

      The Court granted the motion, explaining:

      “For pretrial detention to be imposed on a defendant, the lack of
      reasonable assurance of either the defendant’s appearance, or the
      safety of others or the community, is sufficient; both are not required.”
      United States v. Rueben, 974 F.2d 580, 586 (5th Cir. 1992). Further,
      the government has invoked the 18 U.S.C. § 3142(e)(3) rebuttable
      presumption because there is probable cause to believe that Defendant
      has committed an offense for which a maximum term of imprisonment
      of ten or more years is imposed in Title 21 of the United States Code.
      Section 3142(e)(3) mandates that, in such a case as this, “it shall be
      presumed that no condition or combination of conditions will
      reasonably assure the appearance of the person as required and the
      safety of the community.” 18 U.S.C. § 3142(e)(3). Where, as here, the
      presumption applies, although the burden of persuasion remains
      always with the government, Defendant must produce sufficient
      evidence to rebut the presumption. See United States v. Hare, 873 F.2d
      796, 798-99 (5th Cir. 1989).
             Even if Defendant has come forward with sufficient evidence to
      rebut the presumption that no condition or combination of conditions
      will reasonably assure the appearance of the person as required and
      the safety of the community, the government may prove by a
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     preponderance of the evidence that there is no condition or
     combination of conditions that could be set to reasonably assure
     Defendant’s appearance as required or by clear and convincing
     evidence that there is no condition or combination of conditions that
     will reasonably assure the safety of the community or another person if
     Defendant were released. See United States v. Fortna, 769 F.3d 243,
     250 (5th Cir. 1985). And “the mere production of evidence does not
     completely rebut the [Section 3142(e)(3)] presumption”; “[i]n making
     its ultimate determination, the court may still consider the finding by
     Congress that drug offenders pose a special risk of flight and
     dangerousness to society.” United States v. Rueben, 974 F.2d 580, 586
     (5th Cir. 1992).
            The Court has considered the testimony of the case agent,
     Defendant’s proffer through counsel, and the report of the pretrial
     services officer, in light of the factors listed in 18 U.S.C. § 3142(g) –
     including the nature and circumstances of the offense charged, the
     apparent weight of the evidence against Defendant, and Defendant’s
     history and characteristics.
            Defendant offered some evidence by proffer to rebut the
     presumption. He stayed at the same house where was arrested in May
     2017 and then arrested again in July 2017, knowing he was facing
     state and possibly federal charges. That may be evidence to at least
     rebut the presumption as to risk of nonappearance. But the evidence
     also shows that Defendant is a user and dealer of methamphetamine
     who has admitted to possession of a firearm in connection with drug
     trafficking out of the house where he was living. The Court has been
     presented with very limited information on where – other than that
     house to which he is not welcome to return – Defendant would reside if
     released and about the friend with whom he apparently could live. For
     the reasons stated on the record at the hearing, on this record, the
     Court finds that Defendant has not come forward with evidence to
     rebut the Section 3142(e)(3) presumption that no condition or
     combination of conditions will reasonably assure the safety of the
     community if Defendant is released and that, even if Defendant had
     come forward with some evidence to rebut the Section 3142(e)(3)
     presumption, the government still has proved that there is no
     combination of conditions that could be set to reasonably assure the
     safety of the community if Defendant were released.
            Based on the facts explained above, and the Court’s findings
     based on those facts, with or without the rebuttable presumption, the
     Court finds that there is no condition or combination of conditions that
     could be set to reasonably assure the safety of the community if
     Defendant were released. Accordingly, the Government’s motion for
     detention is GRANTED.
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Dkt. No. 20 at 1-4.

      Defendant has now filed a Motion to Reopen Detention Hearing under 18

U.S.C. § 3142, see Dkt. No. 41 (the “Motion to Reopen”), which United States

District Judge Jane J. Boyle has referred to the undersigned United States

magistrate judge for hearing, if necessary, and determination under 28 U.S.C. §

636(b), see Dkt. No. 42.

      In the Motion to Reopen, Defendant explains that,

      [p]ursuant to 18 U.S.C § 3142(f), the detention hearing may be
      reopened at any time before trial if the judicial officer finds that
      information exists that was not known to the movant at the time of the
      hearing and that has a material bearing on the issue whether there
      are conditions of release that will reasonably assure the appearance of
      such person as required and the safety of any other person and the
      community.
            Defendant is not a flight risk, not a danger to the community
      and will appear pursuant to all orders of this Court.
      ....
      Defendant is a U.S. citizen that has family ties in the North Texas
      area. His criminal history in minimal. The defendant will be able to
      present testimony that he was unable to present at the original
      hearing regarding a third party custodian that will support a finding
      that he is not a flight risk and is not a danger to the community. His
      grandmother has been diagnosed with lung cancer and has had a
      stroke so his family was unable to be present at the hearing.
            In addition, he was arrested on May 9, 2017 and only booked in
      the Dallas County jail. He did not flee after he was arrested on the
      State charge. Upon release he reported to his bond company prior to
      being arrested again on a federal charge. During that time he also
      found employment and will be able to gain employment if released. His
      employer will be able to provide testimony that was unavailable at the
      time of the detention hearing.
      ....
            Conditions such as electronic monitoring or home confinement
      or curfew will reasonably assure the safety of the community.
      Conditions such as regular check-ins with pretrial services, remain in
      the custody of a designated person who agrees to assure supervision

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      and report any violation and/or regular appearances in Court will
      assure the appearance of the defendant as required.
      ....
            There are conditions that can be ordered which are available
      and will reasonably assure the appearance of the person as required
      and the safety of any other person and the community. Therefore, the
      Court should reconsider the pretrial release of the defendant.

Dkt. No. 41 at 1-2.

      The Court heard oral argument on the motion on October 3, 2017, and

Defendant, his counsel, and the government’s counsel appeared. See Dkt. No. 44.

The government opposes the Section 3142(f) request to reopen.

      Defendant has been ordered detained under 18 U.S.C. § 3142 following a

hearing. Under these circumstances, a detention hearing “may be reopened ... if the

judicial officer finds that information exists that was not known to the movant at

the time of the hearing and that has a material bearing on the issue whether there

are conditions of release that will reasonably assure the appearance of such person

as required and the safety of any other person and the community.” 18 U.S.C. §

3142(f)(2).

      A finding that there is no condition or combination of conditions that could be

set to reasonably assure Defendant’s appearance as required must be based on a

preponderance of the evidence. See United States v. Fortna, 769 F.3d 243, 250 (5th

Cir. 1985) (“That is to say, to order detention on this ground the judicial officer

should determine, from the information before him, that it is more likely than not

that no condition or combination of conditions will reasonably assure the accused’s

appearance”); see also United States v. Bosquez-Villarreal, 868 F.2d 1388, 1389 (5th

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Cir. 1989) (“To successfully detain an individual without bail pending trial, the

Government is obligated to establish by a preponderance of the evidence that the

appearance of the defendant cannot reasonably be assured by any condition or

combination of conditions of bail.”).

      As stated above, pretrial detention may be imposed based on no reasonable

assurance of either the defendant’s appearance or the safety of others or the

community. See Rueben, 974 F.2d at 586. And “neither the Bail Reform Act nor [the

United States Court of Appeals for the Fifth Circuit’s] caselaw requires a court to be

absolutely certain that no possible non-detention option will prevent flight before

determining that a defendant must remain in custody. As previously noted, the

flight risk determination is made on the preponderance of the evidence standard.”

United States v. Stanford, 341 F. App’x 979, 981-82 (5th Cir. 2009).

      Under Section 3142(f)(2), the Fifth Circuit has “interpreted th[e] standard as

asking whether any ‘new’ information was presented.” United States v. Stanford,

367 F. App’x 507, 510 (5th Cir. 2010) (citing United States v. Hare, 873 F.2d 796,

799 (5th Cir. 1989) (“We agree with the district court that the testimony of Hare’s

family and friends is not new evidence.”); Stanford, 341 F. App’x at 984 (“It cannot

therefore be said that [the witnesses’] testimony was newly discovered or previously

unavailable.”)).

      The Court may reject a motion to reopen because the evidence to be

presented is not new or because it would not be material. See Hare, 873 F.2d at 799

(“Hare seeks a second hearing on various statutory grounds. First, he seeks to have

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his sister, mother, and a friend testify that he appeared whenever required to do so

during prior prosecutions. He would also offer evidence of his exemplary conduct as

an electrician while detained and of the fact that his pretrial incarceration will last

considerably longer than usual. Under the Bail Reform Act a hearing may be

reopened at any time before trial ‘if the judicial officer finds that information exists

that was not known to the movant at the time of the hearing and that has a

material bearing on the issue [of risk of flight or dangerousness].’ We agree with the

district court that the testimony of Hare’s family and friends is not new evidence.

Nor can the length of his current or potential future detention be considered under

this section since it is not material to the issue of risk of flight or dangerousness.

Given Hare’s past record of narcotics convictions and the seriousness of the present

charges, the district court did not abuse its discretion in finding that Hare’s work as

an electrician and selection as a trustee while in detention is not sufficiently

material to the issue of dangerousness to justify a second hearing.” (footnote

omitted)); accord Stanford, 367 F. App’x at 510-11.

      At oral argument, Defendant’s counsel explained that the new information

that he contends satisfies Section 3142(f)(2)’s standard for reopening is Defendant’s

employer’s willingness to testify that he would agree to serve as a third-party

custodian and to allow Defendant to live in his house. Defendant’s counsel

explained that this is information that, without having successfully contacted the

employer before the detention hearing, was not known to Defendant at the time of

the detention hearing. Defendant’s counsel explained that, before the detention

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hearing, he knew Defendant was employed and that his employer potentially could

testify but that he did not have a good phone number for the employer before the

hearing and, without having spoken to him, did not know that the employer would

allow Defendant to live with him or serve as a third-party custodian.

      The Court finds that, under the circumstances, this is not the kind of

information that qualifies as “information ... that was not known to the movant at

the time of the hearing” under Section 3142(f)(2). Although Defendant did not know

that his employer would be willing to serve as a third-party custodian and allow

him to live with him, he knew that he could ask his employer whether he would be

so willing. Defendant had his initial appearance on July 27, 2017, and the detention

hearing was continued by three court days to August 1, 2017 at the government’s

request. See Dkt. Nos. 7 & 10. Defendant could have, as his counsel acknowledged

at oral argument, sought an additional continuance, including an additional two

days as a matter of right under 18 U.S.C. § 3142(f)(2), to locate or contact

Defendant’s employer as a possible witness and third-party custodian.

      The Court is persuaded that Fifth Circuit case law, like case law from other

jurisdictions, interprets Section 3142(f)’s “not known to the movant at the time of

the hearing” “language to mean not just actual knowledge, but also constructive

knowledge, i.e., knowledge that one using reasonable care or diligence should have,

and therefore that is attributed by law to a given person. Thus, a litigant cannot

invoke 3142(f) to reopen and offer statements about his character from relatives and

friends; he is charged with constructively knowing of those statements. A defendant

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cannot forego an opportunity to confront a witness and elicit favorable testimony,

and then later claim the testimony he or she failed to elicit would constitute new

information. By the same token, a person cannot be charged with constructive

knowledge of a future event, and a court’s ruling on a suppression motion made

after the detention hearing is not something that with the exercise of reasonable

care and diligence can be actually or constructively known.” United States v. Spring,

Crim. A. No. 14-10303-RGS, 2014 WL 6609156, at *2 (D. Mass. Nov. 20, 2014)

(internal quotation marks and citations omitted).

      Defendant’s employer was not at the hearing, unlike many of the family and

friends in Stanford. See 341 F. App’x at 984. But, as in Stanford, Defendant “never

asked for more time to locate witnesses” – including his employer, who was known

to him as a potential witness before the hearing. Id.

      That, having found his employer’s contact information and spoken to him

after the hearing, Defendant or his counsel has now learned that his employer

would be willing to allow Defendant to live with him and to serve as a third-party

custodian does not justify reopening the hearing as the kind of new information or

newly discovered evidence that Section 3142(f)(2) contemplates.

      Section 3142(f)’s mechanism for reopening detention hearing is not properly

employed as a vehicle for granting a do-over to present evidence that a defendant

knew he could have investigated – and now wishes he had run down – before the

detention hearing. See United States v. Flores, 856 F. Supp. 1400, 1405-06 (E.D.

Cal. 1994) (“Basic notions of fairness work to preclude the reopening of a judicial

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detention/release decision unless the party can demonstrate, at the least, good

cause for the failure to initially present the evidence. .... [18 U.S.C. § 3142(f)’s]

statutory language begs the issue here which is – why was the information not

known to the government at the time of the initial hearing, and will any reason

given for the lack of knowledge mandate the reopening of a detention/release

decision. There is no case law to the undersigned’s knowledge that directly

discusses the issue herein, and there is no legislative history addressing the

statutory silence. .... The government relied heavily on a treatise concerning the

Bail Reform Act written by a respected magistrate judge (John Weinberg) in which

he states that: ‘It is only necessary to show that the information was not ‘known’ to

the movant. It is not relevant that the movant could have, or even should have,

known the information at the time of the hearing.’ Weinberg, Federal Bail and

Detention Handbook, § 7.09, (1988 & Supp. 1991). However, no authority of any

kind is referenced, and this court disagrees with the conclusion of the author. The

court does so for several reasons. There are very few proceedings in federal practice

which encourage a party to be less than diligent in bringing forth all material

evidence the first time a hearing is held. Generally, reconsideration of a decided

matter based on the presentation of additional evidence requires good cause for the

failure to present that evidence initially. See, e.g., FED. R. CIV. P. 60(b); United

States v. Oliver, 683 F.2d 224 (7th Cir. 1982) (failure to exercise diligence in

locating witnesses before criminal trial precludes new trial based on newly

discovered evidence). A rule that would not discourage a party for failing to acquire

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readily available evidence for presentation the first time is a rule that encourages

piecemeal presentations. Judicial efficiency is not served by such a practice.”

(emphasis removed)); see also United States v. Gagnon, Crim. No. 10-52-B-W, 2010

WL 1710066, at *1 (D. Me. Apr. 23, 2010) (“Gagnon’s presentation does not squarely

fit within [Section 3142(f)’s] statutory directive. His motion to reopen is more in the

nature of a motion to present me with Plan B because I rejected Plan A at the initial

hearing, finding that the proposed conditions of release were not adequate because

the third-party custodian, Brian Gagnon, resides in close proximity to Canada and

has a history of confrontations with law enforcement, and because the offer of a

$10,000.00 cash bond would do nothing to alleviate my concern about the risk of

flight. Gagnon now proposes that he live outside Lincoln, Maine, that his sister,

Deborah Gagnon McLaughlin, and her husband act as third-party custodians, and

that they provide their home, valued free of encumbrances at approximately

$50,000.00, as surety for his appearance. It is apparent that Gagnon knew about his

sister’s potential availability at the time of the original hearing and his counsel

conceded that the major reason this package was not presented to the court in the

beginning of March when the original hearing was held was because Gagnon would

have preferred to live in his hometown of Van Buren with his brother. Basically, the

information that was not known to Gagnon at the time of the original hearing was

that I would not view his brother favorably and that I would question the etiology of

the $10,000.00 cash. I am not at all convinced this sort of showing meets the

statutory criteria for reopening a detention hearing. It is basically just a request for

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a second bite at the apple.” (citation omitted)).

                                      Conclusion

      The Court DENIES Defendant Gregory Cash Chappell’s Motion to Reopen

Detention Hearing [Dkt. No. 41].

      SO ORDERED.

      DATED: October 10, 2017



                                         _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




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